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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                    CIVIL ACTION NO.: 1:15-CV-12939-LTS

METROPOLITAN PROPERTY AND                           )
CASUALTY INSURANCE COMPANY, and                     )
THE COMMERCE INSURANCE COMPANY,                     )
     Plaintiffs/Counterclaim Defendants,            )
                                                    )
       v.                                           )
                                                    )
SAVIN HILL FAMILY CHIROPRACTIC, INC.,               )
et als.,                                            )
         Defendants,                                )
                                                    )
       and                                          )
                                                    )
LAW OFFICES OF JEFFREY S. GLASSMAN                  )
LLC,                                                )
     Defendant/Counterclaim Plaintiff.              )


 PLAINTIFFS/DEFENDANTS-IN-COUNTERCLAIM, METROPOLITAN PROPERTY
  AND CASUALTY INSURANCE COMPANY AND THE COMMERCE INSURANCE
 COMPANY’S RESPONSE TO DEFENDANTS’(1) JOINT MOTION TO EXTEND THE
  DISCOVERY SCHEDULE AND ENLARGE THE NUMBER OF DEPOSITIONS; (2)
     DESIGNATION OF PROPOSED DEPONENTS; AND (3) STATUS OF THE
 AGREEMENT FOR MAINTAINING AND ACCESSING CLINIC RECORDS IN THE
          POSSESSION OF VERDOLINO AND LOWE [DOC. NO. 1145]

I.     INTRODUCTION

       NOW COME the Plaintiffs/Defendants-in-Counterclaim, Metropolitan Property and

Casualty Insurance Company (“Metropolitan”) and The Commerce Insurance Company

(“Commerce”) (collectively, “the Plaintiffs”), and pursuant to Fed. R. Civ. P. 26 and 45, hereby

submit to this Honorable Court their Response to the Defendants’ (1) Joint Motion to Extend the

Discovery Schedule and Enlarge the Number of Depositions; (2) Designation of Proposed

Deponents; and (3) Status of the Agreement for Maintaining and Accessing Clinic Records in the

Possession of Verdolino and Lowey [Doc. No. 1145]. Specifically, the Plaintiffs oppose the
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timeframe set forth the Defendants’ joint request to extend the discovery schedule and the

Defendants’ request for leave to take certain depositions as proposed in their Motion. The

Plaintiffs have no objection to the statements made in the section of the Defendants’ filing on the

status of the agreement for maintaining and accessing clinic records in the possession of

Verdolino and Lowey, as the representations made therein are an accurate recitation of the

agreement between the Parties with respect to the storage of Savin Hill and Logan Chiropractic’s

patient files. For the reasons stated in their own Renewed Motion to Modify the Scheduling

Order in the Court’s September 25, 2018, Order [Doc. No. 1141], the Defendants’ proposed

discovery schedule is unrealistic given the outstanding motion practice yet to be resolved, and

the remaining outstanding responses to written discovery which all parties are still waiting on

before depositions can start in earnest. Additionally, the Clinic Defendants, i.e. Savin Hill,

Logan Chiropractic, Tony Ramos and Kenneth Ramos, are just now re-entering this case.

Accordingly, additional time for written discovery and motion practice will be necessary before

the Plaintiffs are capable of deposing these entities/individuals.

       Furthermore, the Defendants’ request for a proposed “enlargement” of the number of

depositions they may take is deficient. First, the Defendants fail to identify which ten (10)

depositions they intend to take as of “right” under Fed. R. Civ. P. 33(a)(1). Second, the Plaintiffs

oppose any attempts to depose their current and former counsel, as there is no good cause for

such depositions and the same are not warranted under the standards enunciated in Bogosian v.

Woloohojian Realty Corp., 323 F.3d 55 (1st Cir. 2003) and Bingham v. Supervalu Inc., 2014 WL

12792917 (D. Mass. May 28, 2014)(Boal, M.J.) for obtaining the testimony of counsel. As such,

the Plaintiffs respectfully request that the Court allow the Plaintiffs’ Renewed Motion to Modify

the Scheduling Order in the Court’s September 25, 2018, Order [Doc. No. 1141]. The Plaintiffs




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further request that the Court order the Defendants to designate which depositions they intend to

take as of right under Fed. R. Civ. P. 33(a)(1) before entertaining the Defendants’ request to

exceed the ten (10) deposition limit, and deny any request by the Defendants to depose the

Plaintiffs’ current trial counsel and former counsel.

II.    BACKGROUND

       On January 30, 2019, the Court held a hearing on the Plaintiffs’ original Motion to

Modify the Scheduling Order in the Court’s September 25, 2018, Order [Doc. No. 1043]. After

the hearing, the Court denied, without prejudice, the Plaintiffs’ original Motion to Modify the

Scheduling Order in the Court’s September 25, 2018, Order [Doc. No. 1043], finding that the

original Motion “fails to present a reasonable realistic proposal for conducting the depositions or

otherwise completing the discovery.” [Doc. No. 1090 at 3.] The Court also reconsidered its

prior Order [Doc. No. 591], which permitted the Plaintiffs to take the depositions of each of the

named Defendants and five additional depositions, and permitted each Defendant group

identified by the Court’s Order to take five depositions. [Doc. No. 591 at 2.] Accordingly, in its

January 30, 2019, Order [Doc. No. 1090], the Court reverted back to the presumptive limits set

by Fed. R. Civ. P. 30(a)(1) for depositions, and ordered that any party wishing to exceed the ten-

deposition limit set by Rule 30(a)(1) must demonstrate “good cause” for any deposition in excess

of ten per side. [Doc. No. 1090 at 2.] The Court then ordered that any new motion to modify the

Court’s scheduling order must be filed within 14 days, as did any request for exceeding the

presumptive 10 deposition limit. [Id.]

       With this background, the Plaintiffs filed their Renewed Motion to Modify the

Scheduling Order in the Court’s September 25, 2018, Order [Doc. No. 1043]. Therein, the

Plaintiffs set forth a discovery schedule premised on the current state of discovery responses




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from both the Parties themselves, and third-parties, pending motion practice concerning written

discovery, and the amount of depositions each party represented it intended to take at the parties’

meet and confer conference. [Id.] Furthermore, the Plaintiffs’ schedule can accommodate further

written discovery relative to the Clinic Defendants who recently re-entered this matter from

bankruptcy court, and attendant motion practice, which may be needed prior to their depositions.

With respect to the Plaintiffs’ request to exceed the ten-deposition limit set by Rule 30(a)(1), the

Plaintiffs listed those depositions which they intended to take as their ten depositions for which

leave was not required. As is apparent, the Plaintiffs included among their depositions as of right

the Defendants to this action, to the extent possible, and third-parties directly referenced in the

allegations of the Second Amended Complaint [Doc. No. 304] and the Glassman Law Office’s

Amended Counterclaims [Doc. No. 633]. For those depositions which the Plaintiffs sought leave

to exceed the presumptive limit set by Rule 30(a)(1), the Plaintiffs stated the purpose for each

deposition, including the testimony the Plaintiffs intended to solicit, and provided documentary

evidence supporting their requests, where available. The Defendants’ instant Motion stands in

contrast as it proposes an unrealistic discovery schedule given remaining outstanding written

discovery and seeks to depose the Plaintiffs trial counsel without any basis.

III.   LEGAL ARGUMENT

       A.      The Court Should Reject the Defendants Proposed Discovery Schedule

       The Plaintiffs respectfully request that Court deny the Defendants’ Joint Motion to

Extend the Discovery Schedule and instead adopt the schedule proposed by the Plaintiffs. The

Defendants provide no basis upon which the Court can base any determination that their

proposed discovery schedule is reasonable, or realistic given outstanding discovery, and the

proposed depositions each party intends to take. In further support of their position, the




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Plaintiffs rely on their arguments made in their Renewed Motion to Modify Scheduling Order in

the Court’s September 25, 2018, Order [Doc. No. 1043] in support of the discovery schedule

proposed by the Plaintiffs.

       B.      The Court Should Deny Any Request to Depose the Plaintiffs’ Current or
               Former Counsel

       In their list of proposed deponents, the Defendants have included as requested deponents,

Attorney Glenda Ganem, current lead trial counsel in the instant matter, and Attorney David

Brink, who has previously represented Commerce. As an apparent justification for their request

to depose Attorneys Ganem and Brink, the Defendants state that Attorneys Ganem and Brink

were counsel for the Plaintiffs, “in many settlements and disputes arising from claimants who

treated at Savin or Logan.” [Doc. No. 1145 at 3.] Not only does this argument not establish good

cause, but it fails to justify the intrusion into the attorney-client relationship between the

Plaintiffs and their counsel, especially where the Plaintiffs have already provided notice that they

would not be asserting the defense of advice of counsel. [Doc. No. 982.]

       In Bogosian v. Woloohojian Realty Corp., 323 F.3d 55 (1st Cir. 2003), the First Circuit

adopted the standard enunciated in Pamida, Inc. v. E.S. Originals, Inc., 281 F.3d 726, 729-30 (8th

Cir. 2002) for the taking of testimony from opposing trial counsel at a trial or deposition.

Therein, the Court found the following factors relevant when weighing whether an opposing

counsel should be compelled to testify at a trial or deposition: “whether (i) the subpoena was

issued primarily for purposes of harassment; (ii) there are other viable means to obtain the same

evidence, and (iii) to what extent the information sought is relevant, nonprivileged, and crucial to

the moving party’s case.” Id. at 66. Under this standard, the First Circuit found that the trial

Court appropriately quashed a subpoena for trial testimony to opposing counsel where the




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evidence demonstrated that the subpoena was issued with the intent to harass opposing counsel.

Id. at 66-67.

       This Court adopted the standard from Bogosian and applied it to discovery depositions of

opposing counsel in Bingham v. Supervalu Inc., 2014 WL 12792917 (D. Mass. May 28,

2014)(Boal, M.J.). The Court in Bingham highlighted the many concerns expressed by Courts

when a party attempts to depose an opposing party’s current or former counsel. Id. at *6. The

Court explained that:

                First, ‘[a]llowing depositions of opposing counsel, even if those
                depositions were limited to relevant and non-privileged
                information, may disrupt the effective operation of the adversarial
                system by chilling the free and truthful exchange of information
                between attorneys and their clients.’ [ . . . ] In addition,
                ‘depositions of opposing counsel present a []unique opportunity for
                harassment.[ . . . ] Another concern is that such depositions may
                lead to the disqualification of counsel who may be called as
                witnesses [ . . . ] Finally, ‘counsel depositions carry the substantial
                potential of spawning litigation over collateral issues related to
                assertion of privilege, scope, and relevancy, that only end up
                imposing additional pretrial delays and costs on both parties and
                burdens on the courts to resolve workproduct [sic] and privilege
                objections.’

Id. (case citations omitted). Under the Bogosian standard, the Court in Bingham ultimately

quashed the subpoena seeking deposition testimony from Plaintiff’s counsel as the Defendant

failed to establish that the discovery sought from Plaintiff’s counsel was unobtainable from

another source. Id. at *6-7.

       The Defendants have entirely failed to satisfy the standard enunciated in Bogosian for the

taking of testimony of an opposing counsel, and the limited information they have provided in

support of their request only further demonstrates that the Defendants’ attempt to depose the

Plaintiffs’ current and former counsel is an attempt at harassment, than a serious attempt to

obtain “crucial” evidence that is not available from any other source. The Defendants want to



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depose Plaintiffs’ current and former counsel regarding “settlements and disputes arising from

claimants who treated at Savin or Logan.” [Doc. No. 1145 at 3.] Not only is the evidence which

the Defendants seek to obtain not “crucial” to their case, but it is literally available from a myriad

of other sources. For instance, the Plaintiffs’ Rule 30(b)(6) representatives could testify to the

exact same, non-privileged facts as their counsel with respect to “settlements or disputes” related

to Savin or Logan. The Defendants could also obtain this information from the opposing parties

in the underlying disputes, which information the Glassman Law Office should already be in

possession of as it represented the vast majority of claimants.

       If the settlements which are referenced by the Defendants relate specifically to Count VI

(Injunctive Relief) and VII (Declaratory Relief) of the Glassman Law Office’s Amended

Counterclaims [Doc. No. 633], the information sought by the Defendants is not relevant as none

of the Defendants have standing to even assert the claims made in Counts VI or VII since the

criminal statutes in question do not provide for a civil remedy. See Morissette v. Superintendent

of MCI Cedar Junction, 2014 WL 3896722, at *3 (D. Mass. Aug. 7, 2014)(finding a private

individual “has no standing to prosecute the criminal laws of the Commonwealth [of

Massachusetts].”); Granier v. Ladd, 2015 WL 5676021 (N.D. Cal. Sept. 28, 2015)(finding that

18 U.S.C. Section 201 does not provide a private right of action); see also McClintic v. United

States Postal Service, 2014 WL 12576249, at *1 (E.D. Cal. Jan. 14, 2014)(“As to the First Cause

of Action, 18 U.S.C. §201, which prohibits public official bribery, graft, and conflicts of interest,

is a criminal statute for which there is no private right of action.”); Hardin v. Binion, 2008 WL

4525462, at *1 (E.D. Ky. Oct. 1, 2008)(dismissing claim pursuant to 18 U.S.C. sec. 201(b)(1)(2)

as plaintiff “lacks standing to assert violations of criminal statutes”); and Allen v. Ashcroft, 2006




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WL 1882672, at *11 (S.D. Ill. Jul. 7, 2006)(dismissing claim under 18 U.S.C. §201 with

prejudice as “Plaintiff has no standing to bring an action under 18 U.S.C. §201”).

       Since the testimony of the Plaintiffs’ current and former counsel is not “crucial” to the

Defendants’ case, and the evidence which the Defendants seek is obtainable from other sources,

the Defendants cannot meet their burden for conducting the depositions of Attorney Ganem and

Attorney Brink, and therefore, the Plaintiffs request that the Court deny the Defendants Joint

Motion insofar as they seek to conduct Attorney Ganem and Attorney Brink’s depositions.

V.     CONCLUSION

       Based upon the foregoing analysis, the Plaintiffs/Defendants-in-Counterclaims

Metropolitan Property and Casualty Insurance Company and The Commerce Insurance

Company respectfully request that deny the Defendants’ (1) Joint Motion to Extend the

Discovery Schedule and Enlarge the Number of Depositions; (2) Designation of Proposed

Deponents; and (3) Status of the Agreement for Maintaining and Accessing Clinic Records in the

Possession of Verdolino and Lowey [Doc. No. 1145], in so far as they seek to modify the Court’s

discovery schedule, and to depose the Plaintiffs’ Attorneys Glenda Ganem and David Brink. The

Plaintiffs also request that the Court require the Defendants to identify those depositions which

they intend to take as of right under Fed. R. Civ. P. 30(a)(1). The Plaintiffs request any further

relief that the Court deems just and appropriate.




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                                                     Respectfully submitted,
                                                     By the Plaintiffs,
                                                     Metropolitan Property and Casualty
                                                     Insurance Company, and
                                                     The Commerce Insurance Company,
                                                     By their attorneys,

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Dated: February 28, 2019



                                CERTIFICATE OF SERVICE

        I, Nicholas J. Pompeo, Esq., attorney for the Plaintiffs, Metropolitan Property and
Casualty Insurance Company and The Commerce Insurance Company, hereby certify that this
document, filed through the ECF system, will be sent electronically to the registered participants
as identified on the Notice of Electronic Filing (NEF) and/or served in compliance with the
Fed.R.Civ.P.

                                                     /s/ Nicholas J. Pompeo
                                                     Nicholas J. Pompeo, Esq.

Dated: February 28, 2019




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